914 F.2d 1491Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Johnny HULLETT, Petitioner-Appellant,v.ATTORNEY GENERAL OF SOUTH CAROLINA, Respondent-Appellee.
    No. 90-6541.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1990.Decided Sept. 26, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Joe F. Anderson, Jr., District Judge.  (CA-89-298-3)
      William Johnny Hullett, appellant pro se.
      Salley Wood Elliott, Assistant Attorney General, Columbia, S.C., for appellee.
      D.S.C.
      DISMISSED.
      Before PHILLIPS, SPROUSE and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      William Johnny Hullett seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Hullett v. Attorney General, CA-89-298-3 (D.S.C. Mar. 2, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    